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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           EVANSVILLE DIVISION

WHOLESALE SCREENING
SOLUTIONS LLC,

             PLAINTIFF,
                                                CAUSE NO. 3:20-cv-158
v.

CRIMINAL RESEARCH AND
INVESTIGATIONS, INC., LAUREN
ZULUAGA, STACI LAIRD ZULUAGA,                   JURY TRIAL DEMANDED
AND DEBRA KELLER

             DEFENDANTS.

                                   COMPLAINT

       Wholesale Screening Solutions LLC (hereinafter “WSS”), for its complaint

against the Defendants, alleges as follows.

                             Description of the Case

       1.    The Defendants engaged in a concerted scheme to illegally promote

their own businesses and personal interests at the expense of WSS and its customer

Reference Services, Inc. (“RSI”). The Defendants’ conduct violated state and federal

law.

       2.    WSS seeks redress for the wrongs committed against it in the following

causes of action: (1) violation of the Racketeer Influenced and Corrupt

Organizations Act (“RICO”); (2) violation of the Robinson-Patman Act (“RPA”); (3)

tortious interference; and (4) unfair competition.
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                               Parties or Participants

      3.     Plaintiff WSS, is a Virginia limited liability company with its principal

place of business in Purcellville, Virginia.

      4.     WSS researches information in public records and sells that

information to background screening companies. WSS sold such information to

RSI, an Indiana corporation.

      5.     Lowers Risk Group LLC, a Virginia limited liability company also

located in Purcellville, Va., is the sole member of WSS. Individuals who are

members of Lowers Risk Group, not all of whom are active or voting members, are

citizens of Florida, Georgia, Illinois, Indiana, Tennessee, Virginia, West Virginia,

and the United Kingdom.

      6.     The relevant schemes described herein involved at least the following

individuals or entities:

             (a)    Defendant Criminal Research and Investigations, Inc. (“CRI”);

             (b)    Total Insight Services, Inc. (“TIS”);

             (c)    Defendant Lauren Zuluaga (“Zuluaga”);

             (d)    Defendant Staci Laird Zuluaga (“Laird”);

             (e)    Defendant Debra Keller (“Keller”);

             (f)    Brandi Hilborn (“Hilborn”); and

             (g)    Amy Zuckerman (“Zuckerman”).




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      7.     Defendant CRI is a Florida corporation with its principal place of

business at 15614 Dr. Martin Luther King Jr. Blvd., Dover, Florida 33527. At all

relevant times, CRI was a direct competitor of WSS.

      8.     TIS is a Florida corporation with its principal place of business at

15614 Dr. Martin Luther King Jr. Blvd., Dover, Florida 33527. At all relevant

times, TIS was a direct competitor of RSI.

      9.     Defendant Lauren Zuluaga is the president of TIS, the president of

CRI, and a citizen of Florida with a principal place of business at 15614 Dr. Martin

Luther King Jr. Blvd., Dover, Florida 33527.

      10.    Defendant Staci Laird Zuluaga is the vice president of TIS, the director

of operations at CRI, and a citizen of Florida with a principal place of business at

15614 Dr. Martin Luther King Jr. Blvd., Dover, Florida 33527.

      11.    Defendant Keller is a former senior vice president of RSI, a one-third

owner of TIS, and a citizen of Indiana.

      12.    CRI, Lauren Zuluaga, Staci Laird Zuluaga, and Keller are collectively

referred to herein as the “Defendants.”

                                    Jurisdiction

      13.    Pursuant to 28 U.S.C. § 1331 and 18 U.S.C. § 1964(c), the Court has

subject matter jurisdiction because the claims present federal questions.

      14.    Pursuant to 28 U.S.C. § 1367(a), the Court has supplementary

jurisdiction over the state law claims because these claims arise out of the same




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operative facts and are so related to the RICO and Robinson-Patman Act claims

that they form part of the same case or controversy.

       15.    The Court has personal jurisdiction over the Defendants because they

transacted their affairs in Indiana, conducted business in Indiana, can be found in

Indiana or reside in Indiana, and committed unlawful and tortious acts in Indiana.

See, e.g., 18 U.S.C. § 1965.

       16.    This Court’s assertion of exercise of personal jurisdiction over

Defendants is constitutionally valid pursuant to the principles of specific

jurisdiction consistent with the Due Process Clause and Indiana Trial Rule

4.4(A)(1), (2), (3), and (4) in that:

              (a)     CRI, conducted business within the state of Indiana;

              (b)     Lauren Zuluaga and Staci Laird Zuluaga each secretly paid or

caused to be paid the sum of $150,000 to Debra Keller; and

              (c)     CRI, Lauren Zuluaga, Staci Laird Zuluaga, and Debra Keller

engaged in the unlawful conduct described herein in Indiana.

                                        Venue

       17.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391.

                          Allegations Common to All Counts

1. General description

       18.    RSI provides comprehensive background screening information to a

wide range of businesses and employers throughout the United States.




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      19.     At all relevant times, WSS researched and sold public record

information to clients throughout the United States, including RSI.

      20.     The Zuluaga-owned-business TIS is a competitor of RSI

      21.     The Zuluaga-owned-business CRI is a competitor of WSS.

      22.     Until April 26, 2019, Keller was a corporate officer of RSI with the title

Senior Vice President of Compliance and Vendor Relationships.

      23.     During her employment with RSI, either alone or in concert with

others, Keller devised a scheme in which CRI, the Zuluagas, TIS, Hilborn, and

Zuckerman participated and were rewarded for that participation.

      24.     Defendants and their co-conspirators set out to impair, weaken, and

ultimately destroy the business relationship between WSS and RSI by diverting all

of RSI’s business away from WSS to CRI. Revenue generated by CRI due to this

diversion was used in part to make kickback payments to Keller and provide

Hilborn and Zuckerman with higher paying jobs at CRI.

      25.     Keller and her co-conspirators also provided CRI and the Zuluagas

with WSS’s trade secret information.

      26.     To achieve the goals of their scheme, including the theft of WSS’s trade

secrets, Defendants engaged in multiple instances of mail fraud and wire fraud.

2. Diversion of business to CRI--Wire Fraud

      27.     Defendants set in motion a scheme to divert RSI’s business away from

WSS to CRI.




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      28.    To accomplish their scheme, Defendants sent or caused to be sent

multiple false and/or fraudulent email communications denigrating WSS and

promoting CRI.

      29.    Defendants used WSS’s prices and other information to give CRI an

unfair advantage over WSS in selling public research information to RSI.

      30.    Defendants did not disclose to RSI’s management that CRI was owned

and operated by the same people who owned and operated TIS.

      31.    Keller used two other RSI employees, Hilborn and Zuckerman, to

assist in moving RSI’s business away from WSS and to CRI. As compensation,

Keller proposed to CRI that Hilborn and Zuckerman leave RSI’s employ and take

jobs with CRI. The plan included Hilborn also working on behalf of TIS “under the

radar” to implement Keller’s plan to compete with RSI.

      32.    Defendants concealed Hilborn’s participation in the scheme by

claiming she was leaving RSI to work for Amazon when, in fact, she had already

accepted CRI’s job offer.

      33.    Defendants concealed Zuckerman’s participation in the scheme by

claiming she was leaving RSI to work in human resources when, in fact, she had

already accepted CRI’s job offer.

      34.    In furtherance of the scheme, Staci Laird Zuluaga pretended that the

departure of Hilborn and Zuckerman from RSI were “surprising and unexpected.”

3.    Diversion of business to CRI--Mail Fraud

      35.    In furtherance of the Defendants’ plan, on April 10, 2019, Keller signed

an agreement with the Zuluagas whereby the Zuluagas committed to gift Keller a


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one-third ownership interest in TIS and make periodic cash payments—

denominated a “loan”—totaling $150,000.

      36.    Keller received the first $25,000 payment from the Zuluagas while still

serving as RSI’s Senior Vice President.

      37.    After destroying WSS’s business relationship with RSI, diverting RSI’s

business with WSS to CRI, and stealing WSS’s trade secrets, Keller voluntarily

resigned from RSI effective April 26, 2019.

      38.    Payments made to Keller by the Zuluagas were on behalf of themselves

and RSI’s competitor, TIS.

      39.    The payments were made via check and sent by mail to Keller.

      40.    These payments furthered the Defendants’ above-described scheme to

deprive WSS of its business relationship with RSI, divert revenues to CRI, and

denigrate the business reputation of WSS.

4.    Theft of Trade Secrets

      41.    Through the combined efforts of many employees, WSS developed

confidential and proprietary pricing structures, business processes, marketing

policies, and related materials (collectively “WSS’s Trade Secrets”), all of which

were and still are intended for the exclusive use of WSS and which qualify as trade

secrets under 18 U.S.C. § 1832.

      42.    WSS invested millions of dollars in designing, developing, improving,

and protecting its Trade Secrets.

      43.    WSS has taken necessary measures to protect and preserve WSS’s

property rights in, and the confidentiality of, its Trade Secrets.


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      44.       The maintenance of the confidentiality of WSS’s Trade Secrets has

been at all times a central concern and critical to the continued ability of WSS to

compete in the marketplace.

      45.       During the course of their employment with RSI, one of WSS’s most

trusted business partners, Keller, Zuckerman, and Hilborn had access to a variety

of WSS’s Trade Secrets, including but not limited to research methods and pricing

structures.

      46.       Upon information and belief, the Defendants have used and will

continue to use WSS’s trade secrets to grow CRI’s revenues and reward themselves

individually.

                Count I: Violation of the Racketeer Influenced and
                        Corrupt Organizations Act (RICO)

      47.       WSS incorporates by reference all preceding paragraphs to this

complaint as if fully set forth herein.

      48.       The Defendants are each persons within the meaning of 18 U.S.C. §

1961(3). At all relevant times, in violation of 18 U.S.C. § 1962(c), Defendants

conduct the affairs of an association-in-fact enterprise as that term is defined in 18

U.S.C. § 1961(4).

      49.       The enterprise (“Defendants’ Enterprise”) in this case consisted of the

Defendants, an ongoing, continuing group of separate individuals and legal entities

associated together in fact, and multiple non-party co-conspirators. Upon

information and belief, non-party co-conspirators include Hilborn and Zuckerman

but may include other individuals or entities currently unknown to WSS.



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      50.     The Defendants are employed by or associated with the Defendants’

Enterprise.

      51.     The Defendants knowingly associated together as an enterprise for a

common purpose of engaging in a particular course of conduct. Specifically,

Defendants’ Enterprise, and each of the members associated with such enterprise,

sought to work together to destroy the relationship between WSS and RSI, divert

RSI’s business from WSS to CRI, use the diverted funds to finance the continuing

conduct of the enterprise, steal trade secret and confidential information, drive

down the value of RSI, and weaken or eliminate RSI as a background screening

competitor. The ultimate purpose of the Enterprise was to create an illegal shortcut

to the success of Defendants’ business and personal interests, all to the detriment of

WSS and RSI.

      52.     While the Defendants and their co-conspirators participate in and are

part of Defendants’ Enterprise, they also exist separately and distinctly from the

enterprise.

      53.     Defendants’ Enterprise had an ongoing structure with a framework for

carrying out its objectives, and there is a relationship among each of the members

and co-conspirators in Defendants’ Enterprise. For example, Keller, Hilborn, and

Zuckerman maintained their employment relationship with RSI while working

together methodically and deceptively to divert revenues to CRI while using WSS’s

confidential and trade secret information. With the funds diverted from RSI to CRI,

the Defendants used those funds to make secret payments to Keller and secretly




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 employ Hilborn and Zuckerman. In addition, Keller, Hilborn, and Zuckerman

 provided the Zuluagas, CRI, and TIS with trade secret and confidential information

 obtained from WSS and RSI.

       54.    The Defendants’ Enterprise had longevity sufficient for the members of

 Defendants’ Enterprise to pursue these purposes. On information and belief, the

 Defendants’ Enterprise engaged in the above-described conduct for at least twelve

 months.

       55.    The Defendants conducted or participated in the conduct of the affairs

 of the enterprise through a pattern of racketeering activity.

       56.    The racketeering activity engaged in by the Defendants included

 multiple instances of mail fraud, wire fraud, and theft of trade secrets. These acts

 constitute a pattern of racketeering activity. The acts are related to each other, pose

 a threat of continued racketeering activity, and have the same or similar purposes,

 results, and participants. The acts were not isolated events. Defendants each

 committed at least two such acts or else aided and abetted in such acts.

       57.    Defendants devised the above-described scheme and artifice to defraud

 WSS and RSI, damage or ruin the business reputations of WSS and RSI, and to

 obtain money by means of false and fraudulent pretenses and representations.

       58.    For the purpose of executing such scheme and artifice, Defendants

 transmitted or caused to be transmitted in interstate commerce by wire and/or by

 mail the above-described false and fraudulent communications regarding WSS.




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       59.    Defendants also caused interstate commerce payments to be made by

 RSI to CRI when such payments would have been made to WSS but for the

 Defendants’ false and fraudulent representations.

       60.    Defendants also mailed or caused to be mailed payments to Keller in

 interstate commerce in exchange for Keller engaging in the false and fraudulent

 representations.

       61.    As detailed above, the Defendants used and caused multiple interstate

 wire and mail communications which traveled from one state to another in order to

 defraud RSI and harm WSS on multiple occasions

       62.    The acts described in the preceding paragraphs constituted acts of wire

 fraud and/or acts of mail fraud as provided in 18 U.S.C. §1341 and 18 U.S.C. §1343.

       63.    The Defendants’ Enterprise engaged in interstate commerce and

 affected interstate commerce. By way of example, Defendants’ Enterprise itself

 directly engaged in providing or facilitating background research services in

 interstate commerce, as well as altered the movement of background research

 services and money in interstate commerce.

       64.    In addition, Defendants’ scheme involved a concerted effort to steal

 trade secrets from WSS and RSI in violation of 18 U.S.C § 1832. Each of the

 Defendants stole, copied, received, bought, and/or possessed trade secret

 information knowing that it was obtained without proper authorization. The

 Defendants continue to use these trade secrets in their business affairs in interstate

 commerce.




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        65.    As a direct and proximate result of these violations of 18 U.S.C.

 1962(c), WSS has suffered substantial damages, including lost profits.

        66.    Defendants are jointly and severally liable to WSS for treble damages,

 together with all costs of this action, plus reasonable attorneys’ fees as provided

 pursuant to 18 U.S.C. § 1964(c).

                 Count II: Violation of the Robertson-Patman Act

        67.    WSS incorporates by reference all preceding paragraphs to this

 complaint as if fully set forth herein.

        68.    The Defendants’ conduct described above violates the prohibitions

 against commercial bribery in section 2(c) of the Robinson-Patman Act, 15 U.S.C. §

 13(c). Section 2(c) of the Robinson-Patman Act encompasses cases of commercial

 bribery tending to undermine the fiduciary relationship between buyer and agent.

        69.    Keller, Hilborn, and Zuckerman, while employed by RSI, received

 kickbacks in the form of money, salary, and/or stock interests from CRI, TIS, and

 the Zuluages in exchange for diverting RSI’s business away from WSS to CRI.

        70.    WSS, a direct competitor of CRI, suffered economic damages, injury to

 business reputation, loss of profits, loss of goodwill, and loss of the value of its

 business as a result of the illegal conduct of Defendants.

                           Count III: Tortious Interference

        71.    WSS incorporates by reference all preceding paragraphs to this

 complaint as if fully set forth herein.

        72.    WSS had a valuable contractual and business relationship with RSI.




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       73.       The Defendants had knowledge of this contractual and business

 relationship.

       74.       The Defendants intentionally interfered with this relationship by

 wrongfully diverting business from WSS to CRI.

       75.       The Defendants’ and their co-conspirators’ interference in the mutually

 beneficial and profitable business relationship between WSS and RSI was

 malicious, unjustified, and accomplished through wrongful and unlawful means.

       76.       As a direct and proximate result of the interference described above,

 WSS suffered injuries, including lost profits.

                             Count IV: Unfair Competition

       77.       WSS incorporates by reference all preceding paragraphs to this

 complaint as if fully set forth herein.

       78.       The Defendants and their co-conspirators undertook the foregoing

 scheme to fraudulently remove WSS as a seller of information to RSI to gain an

 unfair competitive advantage over WSS and did so in part in exchange for cash

 payments and higher salaries.

       WHEREFORE, Plaintiff respectfully prays for the following relief:

       A.        Enter joint and several judgments against Defendants in favor of WSS;

       B.        Enter finding that Defendants’ wrongful conduct alleged herein

 violated the laws set forth above, and an award for all measure of damages,

 including treble damages, allowable under such laws, in an amount to be

 determined at trial, plus costs of suit, including reasonable attorney’s fees and

 litigation expenses;


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          C.   Grant WSS pre-judgment and post-judgment interest on all damages;

          D.   Grant WSS all such other and further relief as, as the Court deems

 just and proper, to correct Defendants’ unlawful conduct.

                              JURY TRIAL DEMAND

        Wholesale Screening Solutions, LLC, demands a jury trial on all issues so
 triable.

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